Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 1 of 45




            EXHIBIT 7
        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 2 of 45



                                                                     Page 1

1
2                   IN THE UNITED STATES DISTRICT COURT
3                       FOR THE DISTRICT OF COLUMBIA
4       -------------------------------x
5       RUBY FREEMAN and
6       WANDREA MOSS,
7                              Plaintiffs,
8                      v.                                   Civil Action No.
9                                                              21-3354 (BAH)
10      RUDOLPH W. GIULIANI,
11                             Defendant.
12      ------------------------------x
13
14                   DEPOSITION OF RUDOLPH W. GIULIANI
15                                   March 1, 2023
16
17
18
19      Reported by:
20      MARY F. BOWMAN, RPR, CRR
21      JOB NO. 5786854
22
23
24
25

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        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 3 of 45



                                                                   Page 2

1
2
3
4
5                                            March 1, 2023
6                                            9:30 a.m.
7
8
9                       Deposition of RUDOLPH W. GIULIANI,
10         held at Willkie, Farr & Gallagher, LLP, 787
11         Seventh Avenue, New York, New York, before
12         Mary F. Bowman, a Registered Professional
13         Reporter, Certified Realtime Reporter, and
14         Notary Public of the States of New Jersey
15         and New York.
16
17
18
19
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25

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        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 4 of 45



                                                                   Page 3

1
2                                     APPEARANCES:
3
4       WILLKIE FARR & GALLAGHER, LLP
5       Attorneys for Plaintiffs
6               1875 K Street, NW
7               Washington DC           20006
8       BY:     MICHAEL J. GOTTLIEB, ESQ.
9               M. ANNIE HOUGHTON-LARSEN, ESQ.
10              MAGGIE MacCURDY, ESQ.
11              MERYL GOVERSKI, ESQ. (Via Zoom)
12              JOHN KNOBLETT, ESQ.                 (Via Zoom)
13                            -and-
14      DUBOSE MILLER LLC
15              75 14th Street NE, Suite 2110
16              Atlanta, Georgia 30309
17      BY:     VON A. DUBOSE, ESQ. (Via Zoom)
18                            -and-
19      UNITED TO PROTECT DEMOCRACY, INC.
20              82 Nassau Street, #601
21              New York, NY 10038
22      BY:     JOHN LANGFORD, ESQ. (Via Zoom)
23
24
25

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        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 5 of 45



                                                                   Page 4

1
2                                     APPEARANCES:
3
4       CAMARA & SIBLEY
5       Attorneys for Defendant
6               1108 Lavaca Street,                 Suite 110263
7               Austin, TX 78701
8       BY:     JOE SIBLEY, ESQ.
9                      -and-
10      DAVIDOFF HUTCHER & CITRON LLP
11              605 Third Avenue
12              New York, New York                  10158
13      BY:     ROBERT J. COSTELLO, ESQ.
14
15
16
17
18      Also Present:
19              Deverell Write, Legal Videographer
20
21
22
23
24
25

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        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 6 of 45



                                                                     Page 5

1                                          Giuliani
2                         THE VIDEOGRAPHER:                   We are on the
3                   record at 9:36 a.m. on March 1, 2023.
4                         Please note that the microphones
5                   are sensitive and may pick up whispers
6                   and private conversations.                   Audio and
7                   video recording will continue to take
8                   place unless all parties agree to go
9                   off the record.
10                        This is media unit 1 of the
11                  video-recorded deposition of Rudolph
12                  Giuliani.     This the taken by counsel
13                  for the plaintiff in the matter of Ruby
14                  Freeman, et al., versus Rudolph W.
15                  Giuliani.
16                        This case is pending in the
17                  United States District Court for the
18                  District of Columbia.                   We're at the
19                  offices the Willkie Farr & Gallagher
20                  located at 787 Seventh Avenue.
21                        My name is Deverell Write from
22                  Veritext Legal Solutions.                   The court
23                  reporter is Mary Bowman from Veritext
24                  Legal Solutions.
25                        At this time, will counsel please

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        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 7 of 45



                                                                   Page 6

1                                          Giuliani
2                   note their appearances.
3                         (Whereupon, counsel placed their
4                   appearances on the audio record.)
5                         THE VIDEOGRAPHER:                 Will the court
6                   reporter please swear in the witness.
7       RUDOLPH W. GIULIANI,
8               called as a witness by the plaintiff,
9               having been duly sworn, testified as
10              follows:
11      EXAMINATION BY
12      MR. GOTTLIEB:
13                  Q.    Good morning, Mayor Giuliani.
14                  A.    Good morning.
15                  Q.    Could you please state your full
16         name for the record.
17                  A.    Sure.      Rudolph W. Giuliani,
18         R-U-D-O-L-P-H, W., G-I-U-L-I-A-N-I.
19                  Q.    I will try to call you Mr. Mayor,
20         Mr. Giuliani during this deposition.
21                        Is that all right?
22                  A.    Whatever you prefer.
23                  Q.    You have been deposed before?
24                  A.    Yes, sir.
25                  Q.    Do you know approximately how

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Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 8 of 45




       Excerpted
        Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 9 of 45



                                                                  Page 15

1                                          Giuliani
2                   A.    He has since been pardoned and
3          he's been reinstated as an official
4          investigator.
5                   Q.    Fair enough.
6                         As a general matter, he is
7          somebody you believe as credible --
8                   A.    Yeah, as a general matter, he is
9          as credible as anybody I know that I would
10         consider credible.
11                  Q.    You say he doesn't use email
12         often, is that right?
13                  A.    Yeah, he is more -- he is prone
14         to short messages, I guess, is the point
15         I'm trying to get across.
16                  Q.    Understood.
17                        So sometimes he provides you with
18         information in person.                  Sometimes he sends
19         you a text.
20                        If he has a video or an article
21         to share with you, would he typically do
22         that by text, by email?                   Do you have any
23         recollection of him ever sharing videos or
24         links to news articles?
25                  A.    Yeah, I should -- this particular

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 10 of 45



                                                                 Page 16

1                                         Giuliani
2          case, this is not a case that he worked on
3          very heavily, or I worked on with him very
4          heavily.         Occasional situation here and
5          there.        So I can't -- it doesn't
6          necessarily apply to this case.
7                           If you are asking as a general
8          practice, the general practice is, it would
9          depend on how sensitive the document or the
10         video was.         If it wasn't that sensitive, he
11         would send it.           I would watch it
12         electronically.           If it was sensitive, he
13         would come to my house, I would go to his
14         house, or we would meet in an office and he
15         would show it to me.
16                  Q.      Okay.
17                          In terms of texting, do you --
18                  A.      I don't think that -- what I just
19         told you -- applies to this case.
20                  Q.      Okay.    I understand.
21                          In terms of texting, do you have
22         one phone, more than one phone?
23                          MR. COSTELLO:           At what point in
24                  time?
25                  A.      Right now?

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 11 of 45



                                                                 Page 17

1                                         Giuliani
2                   Q.    Let's start with right now and
3          we'll work backwards.
4                   A.    Right now, I really have
5          officially one phone.                I have a bunch of
6          inoperative phones.              I was able to get one
7          of those operative and it has a single
8          phone number on it.              And I don't use it
9          other than to take calls on my radio show.
10         So it's a call-in number for a radio show.
11                        But it's a single cell phone that
12         you plug in, so I can take it anywhere with
13         me.       So I really have one phone right now.
14                        Typically, I had two phones.
15         That goes back to when I was mayor, almost
16         since they had phones.                 And one phone, it
17         wasn't divided between business and
18         pleasure.       It was divided between good
19         people and bad people.
20                        The people I wanted to talk to
21         were on one phone.             The people that I were
22         trying to avoid or have somebody else talk
23         to were on another phone, as best as I
24         could do it, so that I knew which phone had
25         the priority of answering.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 12 of 45



                                                                 Page 18

1                                         Giuliani
2                           And that hasn't always been the
3          case, but when I had positions of intense
4          hours and calls and, let's say, mostly
5          government positions, that's what I did.
6                           When I was in private law
7          practice, I didn't do that.
8                   Q.      When was the last time that you
9          had two phones that you were using?
10                  A.      When the FBI took it from me.
11                  Q.      When was that?
12                  A.      It would be in 20 -- was it 2021,
13         Bob?
14                          MR. COSTELLO:           Do you want the
15                  date?
16                          THE WITNESS:          Bob would know the
17                  day.
18                  Q.      I'm just interested in what you
19         remember.
20                  A.      I don't remember the exact date.
21         It was about two years ago.
22                  Q.      So since whatever that point in
23         time was that the FBI took your phone, you
24         had one phone?
25                  A.      They kept those phones, and I

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 13 of 45



                                                                  Page 19

1                                         Giuliani
2          went and bought a new iPhone and I set it
3          up, and that's been my -- that iPhone has
4          been my only phone really until now.
5                   Q.   And what is the number for that
6          phone number for that iPhone that you have
7          had since the FBI took your phone?
8                   A.   347-735-0426.
9                   Q.   Okay.      Thank you.
10                       And then apart from that
11         iPhone -- it is an iPhone, is that right?
12                  A.   Um-hm.
13                  Q.   Apart from that iPhone --
14                  A.   To be absolutely precise, I would
15         have to check that number.                      Because I don't
16         really remember my number.
17                  Q.   All right.
18                  A.   Bob could check it right this
19         minute.
20                  Q.   We will ask your counsel to check
21         it and then we will come back to this
22         question.
23                  A.   I don't want to --
24                  Q.   Thank you for clarifying that.                     I
25         appreciate it.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 14 of 45



                                                                  Page 20

1                                         Giuliani
2                        So you have your iPhone.                  You
3          have the phone that you use only for
4          call-ins to the radio show.
5                   A.   Yeah, and I had that about a
6          month.
7                   Q.   Do you have email accounts that
8          you use to correspond with people?
9                   A.   I do.
10                  Q.   What -- can you tell us what
11         those email accounts are?
12                  A.   I currently have only one email
13         account for me personally.                      My businesses
14         have emails accounts, but I have one
15         personally.
16                       And that -- want me to give it to
17         you?
18                  Q.   Yes, please.
19                  A.   It's truth, lower case, and,
20         spelled out, justice, number 4, letter U
21         @protonnow.com.
22                  Q.   Is that now your principal email
23         account?
24                  A.   Yeah, that's my -- it's the only
25         one that functions that I know of.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 15 of 45



                                                                 Page 21

1                                         Giuliani
2                   Q.   How long have you had that?
3                   A.   Since a few days after the FBI
4          seized my electronics.
5                   Q.   Prior to the seizure of your
6          electronics, did you have a different email
7          account?
8                   A.   I did.
9                   Q.   And what was that?
10                  A.   There was a main one and then
11         several others.
12                  Q.   What is the principal email
13         account you used?
14                  A.   The main one was -- if I can
15         remember it.
16                       I can't remember -- the Gmail
17         account, I would have to look it up.
18                  Q.   For present purposes, we can say
19         you had a Gmail account?
20                  A.   It was a Gmail account and then
21         there were several offshoot accounts, like
22         RudyGiuliani@me.com, and I have no idea how
23         they got set up, what they were for, but
24         occasionally, I had about three of those
25         like that.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 16 of 45



                                                                 Page 22

1                                         Giuliani
2                        But the main account that would
3          carry I think every significant email would
4          be the Gmail account.
5                   Q.   Okay.      So if we are talking about
6          the period of time around the 2020
7          election, so call it November 2020 --
8                   A.   That would be -- that would be --
9          that would be the account that I would be
10         using.
11                  Q.   Okay.
12                       So whatever the handle is on that
13         Gmail account, to the extent you were using
14         email --
15                  A.   Yeah, I'll get that for you, when
16         you want me to look.
17                  Q.   Okay.
18                       Would you send and receive emails
19         from your phone from that Gmail account?
20                  A.   Um-hm.       Yes, sir.
21                  Q.   Same for your ProtonMail account
22         currently?
23                  A.   Yes, sir.
24                  Q.   Let's stick in the period of time
25         around the 2020 election.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 17 of 45



                                                                 Page 23

1                                         Giuliani
2                         You had social media accounts, is
3          that right?
4                   A.    I did.
5                   Q.    Twitter account?
6                   A.    I did.
7                   Q.    Did you ever receive direct
8          messages on the Twitter account?
9                   A.    Probably.         I didn't use it for
10         that purpose.
11                  Q.    Did you ever send any direct
12         messages from your Twitter account?
13                  A.    I may have but never -- I can't
14         exclude the possibility that I did that,
15         but that wasn't a practice that I followed.
16         It would have come up because of some
17         interchange or -- I can't remember saying
18         I'm going to go to Twitter and send a
19         direct message.
20                  Q.    What about did you have any
21         so-called ephemeral message platforms
22         around the time of the 2020 election, so
23         Signal, Telegram?
24                  A.    I had all of those and used them
25         rarely.       I had Signal, Telegram, WhatsApp.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 18 of 45



                                                                   Page 24

1                                         Giuliani
2          Everybody telling you those are more --
3          those are more secure than others and then
4          other people come along and tell you they
5          aren't.
6                        I was in the cyber security
7          business, which I left to represent
8          President Trump, and my view was that they
9          were only marginally better, and if it was
10         going to be any serious inconvenience, not
11         worth it.
12                  Q.   So you mentioned Signal?
13                  A.   I used Signal.               I used --
14         probably WhatsApp --
15                  Q.   WhatsApp?
16                  A.   -- I used more often.
17                       I was mostly guided by the people
18         I was communicating with.                       I didn't have a
19         favorite one.         So if they said, I want to
20         communicate with you on WhatsApp.                       I said,
21         Fine, let's do WhatsApp.
22                       And then I would ask my staff --
23         but this is a while back when I would say
24         Go check them out, and they would say, Two
25         others are really better.                       So I probably

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 19 of 45



                                                                 Page 25

1                                         Giuliani
2          had about four of those.
3                   Q.   And do you still have access to
4          any of those accounts?
5                   A.   I do, but I can't remember the
6          last time I used it.
7                   Q.   But you -- as of today, you still
8          are able to access, should you want to,
9          your WhatsApp account?
10                  A.   I think so, unless you have to --
11         unless you have to renew it because I don't
12         remember renewing it in a long, long time.
13                  Q.   All right.           So you may have --
14         you may have access to these messaging
15         platforms, but you're not certain?
16                  A.   Right.       I mean, I basically have
17         to go on my phone and see if they're still
18         active.
19                  Q.   Have you done that in the course
20         of responding to discovery in this case?
21                  A.   Not recently.
22                  Q.   Have you ever?
23                  A.   Maybe way back when we first had
24         to make requests.            I did a quick look at
25         those at one time.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 20 of 45



                                                                 Page 26

1                                         Giuliani
2                        I don't know if it was just this
3          case or I lumped a group of cases together
4          and went through them because I knew it
5          wouldn't contain a lot.                  I didn't find
6          anything on there that related either to
7          this case or maybe let me say this group of
8          cases.
9                   Q.   Okay.      Specifically with respect
10         to this case, we have served discovery
11         requests, requests for production,
12         interrogatories.
13                       And my question to you, sir, is,
14         do you have any recollection, after
15         receiving the requests for production in
16         this case of having searched through your
17         devices or having had somebody else search
18         through your devices and accounts for
19         responsive documents?
20                  A.   I do recall going through them.
21         I'm trying to remember when I did it
22         because I didn't have them for a long time.
23                       So those were the apps that were
24         with the FBI, and I didn't know -- I didn't
25         know how to get them on my new phone.                       So

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 21 of 45



                                                                 Page 27

1                                         Giuliani
2          when I got my new phone, for the longest
3          time, those apps were unavailable.
4                        When I got them back, I did a
5          search of them.          One of the cases I had in
6          mind was this one, and I didn't find
7          anything on it.
8                   Q.   Okay.      Is there a person who
9          assists you with IT-related issues with
10         your phone or tech issues with your phone?
11                  A.   Different people at different
12         times.
13                  Q.   Okay.      So since -- when you
14         restored the social media apps or messaging
15         apps to your phone, was there a specific
16         person who was assisting you?
17                  A.   No.     I did that myself.
18                  Q.   Do you have any recollection of
19         when that happened?
20                  A.   I don't.
21                  Q.   Returning to the Gmail account
22         for just a moment, is the Gmail account
23         RHelen0528@gmail.com familiar to you?
24                  A.   That's it.
25                  Q.   That was the Gmail account you

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 22 of 45



                                                                 Page 28

1                                         Giuliani
2          used?
3                   A.   That was my main Gmail account
4          of -- since I had Gmail.                   And somehow
5          others were created for specific purposes,
6          but that would cover 95 percent of any
7          email I had and probably every important
8          one.
9                   Q.   Do you -- have you ever gone back
10         to WhatsApp or Signal, not your apps but
11         the companies, to ask them for a pull of
12         any of your data?
13                  A.   I don't remember.
14                  Q.   You don't have any recollection
15         of doing that?
16                  A.   I don't.
17                  Q.   So you -- I want to make sure I
18         understand your testimony.
19                       You believe at some point in time
20         after getting your new phone and putting
21         the messaging apps back on it, that you
22         went through some number of those apps to
23         look for responsive materials?
24                  A.   Yes, sir, to see what was on
25         there in case there were things that were

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 23 of 45



                                                                 Page 29

1                                         Giuliani
2          on there that I didn't remember.
3                        I mean, I didn't remember
4          anything of significance being on there.
5          But since I -- my memory is not anywhere
6          near 100 percent with all the data
7          involved.
8                        But I didn't find anything of any
9          significance, anything relating to this
10         case or any of the others that you regard
11         in the election law case category.
12                  Q.   So you didn't find anything on
13         any of those apps or your email or anything
14         else that was on your phone --
15                  A.   Related to this.
16                  Q.   -- related to the 2020 election
17         generally?
18                  A.   Particularly this, right.
19                  Q.   Okay.
20                       You have a number of -- well,
21         I'll withdraw that.
22                       You currently have podcasts, is
23         that right?
24                  A.   I do.
25                  Q.   And a radio show?

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Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 24 of 45




       Excerpted
       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 25 of 45



                                                                     Page 238

1                                         Giuliani
2                   A.    Only after the fact.
3                   Q.    Okay.     Let's mark this as the
4          next exhibit, Exhibit 19.                       This is
5          Volume 1, Tab 12.
6                         (Exhibit 19, document entitled,
7                   "Strategic Communications Plan of the
8                   Giuliani Presidential Legal Defense
9                   Team," marked for identification, as of
10                  this date.)
11                  Q.    Do you -- as you sit here today
12         and you looked at what has been marked as
13         Exhibit 19, do you recognize this document?
14                  A.    I should clarify how I recognize
15         it though.
16                  Q.    Please do.
17                  A.    I recognize it as something given
18         to me after this litigation began.
19                  Q.    Okay.
20                  A.    I hadn't seen this before.
21                  Q.    So, Mr. Giuliani, you produced
22         this document to us in this litigation.                           So
23         how did you receive it?
24                  A.    I believe, I believe --
25                        MR. SIBLEY:           Object to form.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 26 of 45



                                                                Page 239

1                                         Giuliani
2                   A.   -- I didn't originally produce
3          this document to you.                But I think when I
4          asked Bernie Kerik for his documents, I got
5          this document and then I produced it to
6          you.
7                   Q.   Okay.
8                   A.   In other words, this was in
9          Bernie's possession, not mine.
10                  Q.   Bernie Kerik would know how this
11         document came about and what was done with
12         it?
13                  A.   Pretty much, yeah.
14                  Q.   You would trust his explanation
15         of how this document came about and what
16         was done with it?
17                  A.   Yeah, I mean, having seen it now,
18         I know a little bit about how it came
19         about, but I'm telling you the document
20         itself, I didn't see at the time, don't
21         believe I originally submitted it to you,
22         and then Bernie gave it to us and we gave
23         it to you.
24                  Q.   Okay.
25                       You, I think, testified before

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 27 of 45



                                                                Page 240

1                                         Giuliani
2          the January 6 Commission.
3                        Do you recall doing that?
4                   A.   Pardon me?
5                   Q.   You testified before the January
6          6 Commission in Congress, is that correct?
7                   A.   Right.
8                   Q.   And I think, in that testimony,
9          you talked about this document, is that
10         right?
11                  A.   I -- yes, I did.
12                  Q.   And you testified truthfully
13         before the January 6 Commission?
14                  A.   I did.
15                  Q.   Did you tell the January 6
16         Commission with respect to this document
17         that you were familiar with the
18         communications plan that was going to be --
19                  A.   I was.
20                  Q.   -- presented to the White House?
21                  A.   Right.
22                  Q.   And that you -- you actually, I
23         believe, had a view about this
24         communications plan, right?
25                  A.   I was opposed to it.

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Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 28 of 45




       Excerpted
       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 29 of 45



                                                                Page 277

1                                         Giuliani
2          00 -- with 009.
3                        Now, you've got Exhibit 22
4          sitting right in front of you, sir.
5                   A.   Oh, it's the one with 009.
6                   Q.   That's why I asked you to keep it
7          out.
8                        So just have them sitting side by
9          side there.
10                       And I guess what I want to ask
11         you, sir, is if you see, starting at line 3
12         there, in the transcript --
13                  A.   On 009?
14                       MR. COSTELLO:              No, the other one.
15                  Q.   On Exhibit 15 --
16                  A.   Got it.
17                  Q.   -- you start with "2,560 felons
18         with uncomplete sentences were registered
19         to vote."
20                       Do you see that?
21                  A.   I do see that, right.
22                  Q.   Do you see, now looking over at
23         page 009 of the strategic plan, the same
24         words, "2,560 felons" --
25                  A.   Right.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 30 of 45



                                                                Page 278

1                                         Giuliani
2                   Q.   -- "with uncomplete sentences
3          registered to vote"?
4                        And I acknowledge there are
5          differences between the two of these, but
6          I'm trying to identify the similarities.
7                        If you move down to line 8 on
8          page 10 of the transcript, you see
9          66,200 --
10                  A.   Underaged, yup, I see that.
11                  Q.   Do you see that same language in
12         the strategic plan?
13                  A.   I've got it.
14                  Q.   And then if you go down to "2,423
15         unregistered people voted" on line 11 of
16         the transcript, do you see that line in the
17         strategic plan, page 009?
18                  A.   I do.
19                  Q.   And am I right that these aren't
20         just the same statistics, these are the
21         same words that are --
22                  A.   Yeah, this was probably -- so
23         what you are looking at here with Georgia,
24         this is a sheet that was kept up to date
25         every week or two weeks as we gathered new

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 31 of 45



                                                                Page 279

1                                         Giuliani
2          evidence or changed evidence with regard to
3          states.       It was a summary sheet.
4                   Q.    Okay.
5                   A.    And everybody would rely on it.
6                         This would be the same summary
7          sheet that Peter Navarro had.                   I'm pretty
8          sure we sent this to the White House.                       They
9          would keep them.
10                        So when I went to do my podcast,
11         I probably just picked this up.                   Not this,
12         (indicating), this (indicating.)
13                  Q.    So we have a clear record here,
14         not the strategic --
15                  A.    So we have a clear record, I
16         didn't pick up the strategic communication
17         plan --
18                        MR. COSTELLO:             Exhibit what?
19                  A.    -- but I picked up -- Exhibit 22.
20         But I probably picked up the enclosure in
21         there for Georgia, which is separate from
22         the plan and was available to everybody on
23         the Mayor's -- on the President's team.
24                  Q.    Great.
25                  A.    That was a joint enterprise of

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 32 of 45



                                                                Page 280

1                                         Giuliani
2          Navarro and my office.
3                   Q.   So that part of the document, not
4          the plan, but the --
5                   A.   Correct.
6                   Q.   -- supporting documents --
7                   A.   And so when Katherine did her
8          plan, that's what she used so that
9          everybody -- it would be something
10         everybody agreed on.
11                  Q.   And all I'm trying to get at is,
12         the supporting documents part of this is a
13         document that you and your team were
14         working on and updating --
15                  A.   Correct.
16                  Q.   -- and sending around, I think
17         you said, Mr. Navarro's team --
18                  A.   Correct.
19                  Q.   -- and the White House, is that
20         right?
21                  A.   Um-hm.
22                  Q.   And so that is a document that
23         you were relying on in doing your podcasts
24         and in other advocacy you were doing
25         publicly at the time?

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 33 of 45



                                                                Page 281

1                                         Giuliani
2                         MR. COSTELLO:             Was that a
3                   question?     Because he didn't answer.
4                   A.    What was it?            I'm sorry.      I'm not
5          hearing this.
6                   Q.    This is a document you were
7          relying on as you were doing your podcast
8          and other public advocacy at the time?
9                   A.    The Georgia breakdown.
10                  Q.    The Georgia breakdown --
11                  A.    Correct, the Georgia breakdown --
12                  Q.    -- and supporting documents?
13                  A.    -- which is independent, really,
14         of the document it was appended to.                     It's a
15         separate document that was kept up to date
16         every couple of weeks and was available to
17         everybody on the team.
18                  Q.    Okay.     Great.
19                        I want to ask you about a
20         telephone call that President Trump had
21         with Georgia Secretary of State
22         Raffensperger on January 2, 2021.
23                        This is a telephone call that's
24         been much talked about in the press and
25         discussed.        I assume you were familiar in

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 34 of 45



                                                                Page 282

1                                          Giuliani
2          general terms with this phone call.
3                   A.    Yup.
4                   Q.    And let me start by marking the
5          next exhibit, Exhibit 24.
6                         MS. HOUGHTON-LARSEN:              Which is
7                   Tab 58 in Volume 2.
8                         (Exhibit 24, document entitled
9                   "White House Presidential Call Log,
10                  January 2, 2021," marked for
11                  identification, as of this date.)
12                  Q.    Mayor Giuliani, you have been
13         handed what has been marked as Exhibit 24.
14         This is document bearing the Bates number
15         076PR8962 ending in 001 and continuing
16         through 0010.
17                        Have you ever seen this document?
18                  A.    I've never seen this.              I've seen
19         White House printouts of phone calls, but I
20         haven't seen this one.
21                  Q.    So this is a printout of the
22         President's call from the White House
23         switchboard --
24                  A.    Excuse me, a printout of what?
25                  Q.    The President's presidential call

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Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 35 of 45




       Excerpted
       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 36 of 45



                                                                Page 387

1                                         Giuliani
2                   Q.   We talked a bit today about your
3          testimony before the January 6 Commission,
4          and I realized in doing that, we did not
5          actually put this in the record.
6                        So I have handed you what has
7          been marked as Exhibit 36, and if you could
8          take a look at it, and let me know whether
9          this appears to be the transcript --
10                  A.   It appears to be the transcript
11         of my testimony to the January 6 committee.
12         Yes, sir.
13                  Q.   Excellent.           We may come back to
14         that in the last few minutes, but you can
15         put that aside for now.
16                  A.   Oh, too bad.
17                  Q.   A few other things just in
18         follow-up.
19                       We were talking previously about
20         the video about the alleged passing of the
21         thumb drives or USB drives.                     And you gave,
22         I think, very clear testimony that you
23         believed that the video we looked at is not
24         the video that you saw in the Republican
25         committee offices in Atlanta.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 37 of 45



                                                                 Page 388

1                                          Giuliani
2                   A.       It sure doesn't look like it,
3          yes.
4                   Q.       Okay.     Who would we ask to find
5          the video that you believe you saw?
6                            I should probably rephrase that
7          so you are not giving me advice.
8                            Who could we ask to find the
9          video that you believe you saw?
10                  A.       Well, we can start with the
11         lawyers there.             I would -- I would -- I
12         mean, I usually start these searches with
13         either Christina Bobb or Colonel Waldron.
14                           They have got the              -- they have
15         got the sort of -- even though they aren't
16         involved in everything, they have the best
17         overview of where everything is.
18                           Smith.
19                  Q.       Sorry, Smith is who?
20                  A.       What?
21                           MR. COSTELLO:           The first name of
22                  Smith.
23                  A.       No, the lawyer.
24                  Q.       The local counsel in Georgia --
25                  A.       Yeah, local counsel.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 38 of 45



                                                                Page 389

1                                         Giuliani
2                   Q.      -- Mr. Smith?
3                   A.      Now, I'm not -- he was more
4          involved in the other.
5                   Q.      Have you -- in -- since receiving
6          discovery requests in this litigation, have
7          you searched through or had any kind of a
8          forensic search done of your email accounts
9          or hard drives to locate things like this
10         video?
11                          MR. SIBLEY:         Hang on, locate
12                  what?
13                  A.      Things like this video.
14                          I mean, we have gone through the
15         whole thing with Trustpoint and with the
16         U.S. Attorney's Office.                  Didn't come up
17         with this.
18                  Q.      Okay.   So there was a production
19         made to the U.S. Attorney's Office --
20                  A.      Of everything.
21                  Q.      -- previously.
22                          Apart from that, have you done
23         any searching of devices to --
24                  A.      Yeah.   We have done individual --
25         I would have to go back and look at --

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 39 of 45



                                                                Page 390

1                                         Giuliani
2          yeah, we have done sporadic searches either
3          when asked to produce something or when we
4          needed to answer a question.
5                        So we could try something like
6          that, I guess.
7                   Q.   Did you get your devices back
8          from the government?
9                   A.   I did.
10                  Q.   And since getting those devices
11         returned to you, have you done forensic
12         searches of those devices for the
13         purpose --
14                  A.   Yeah.      They were pretty much
15         wiped out.
16                  Q.   So let me just make sure I
17         understand your answer.
18                       Have you had a forensic -- have
19         you had a forensic evaluation done of those
20         devices since they were returned to you by
21         the U.S. Government?
22                  A.   Through the iCloud.
23                  Q.   So the answer is, Yes -- so who
24         performed that search through the cloud?
25                       MR. COSTELLO:              I -- can we go off

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 40 of 45



                                                                 Page 391

1                                          Giuliani
2                   the record for a second?
3                         I think your question is
4                   inarticulate, but only because you
5                   don't know the facts.
6                         THE VIDEOGRAPHER:                 The time on
7                   the video monitor is 6:11 p.m.                 We are
8                   off the record.
9                         (Discussion off the record.)
10                        THE VIDEOGRAPHER:                 Back on the
11                  video record.        The time on the video
12                  monitor is 6:12 p.m.
13      BY MR. GOTTLIEB:
14                  Q.    Mr. Giuliani, do I understand
15         correctly that the steps that have been
16         taken to preserve and produce documents in
17         this case are steps that have been taken by
18         a third-party provider?
19                  A.    Yes.      As Bob described, yeah.
20                  Q.    And that third-party provider is
21         called Trustpoint?
22                  A.    Yes, sir.
23                  Q.    And apart from what Trustpoint
24         has done, do I understand correctly that
25         you have not yourself gone back through

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 41 of 45



                                                                Page 392

1                                         Giuliani
2          devices or accounts to search for
3          documents?
4                   A.   Sure, I have, but it hasn't
5          helped because what they gave back to me
6          seems to be wiped out.                 I can't get
7          anything -- I can't get anything off it.
8                        Maybe if I had someone with more
9          expertise, I could.              But it doesn't seem
10         that it's -- it was much easier to do it
11         the other way.
12                  Q.   Have you provided your physical
13         devices to either your attorney or to
14         Trustpoint to perform searches?
15                  A.   I don't think so, no.
16                  Q.   So you know, we -- well, you may
17         know, you may not.             I'll ask you.
18                       We have agreed in correspondence
19         with Mr. Sibley that we will be holding
20         this deposition open based on documents
21         that haven't been produced such that if
22         there are further documents produced to us
23         from searches, that we would reserve the
24         right --
25                  A.   Talk a little bit louder.

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 42 of 45



                                                                Page 393

1                                         Giuliani
2                   Q.   If there are further documents
3          that would be produced after searches, we
4          would reserve the right to recall you to be
5          able to ask you questions about those
6          documents.
7                        Do you understand that we have
8          reached that agreement with Mr. Sibley?
9                   A.   I do.
10                       MR. SIBLEY:            Objection to form.
11                  Q.   And last sort of cleanup point on
12         this, I noticed throughout this deposition,
13         you have done some drawing and written some
14         things down.         I'm not really interested in
15         seeing -- not really interested in seeing
16         them because I understand you are just kind
17         of doodling.
18                  A.   Yeah, Russia, boxes, things I
19         have to do.
20                  Q.   Fair enough.
21                       Here is my question for you
22         though, as you sit in meetings, do you
23         typically take notes?
24                  A.   Not always.            Sometimes I do.
25         Sometimes I don't.

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Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 43 of 45




       Excerpted
       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 44 of 45



                                                                Page 423

1                                         Giuliani
2          testified as an expert witness for us.                          I
3          think he testified before the legislature
4          in -- in Georgia.
5                         MR. COSTELLO:             Seven hours.
6                   Q.    Do you know how to spell his
7          name?
8                         This is my last question, do you
9          know how to spell his name, Mr. Geels?
10                  A.    I think it is G-I-L-E-L-S.
11                  Q.    Is it possible it is Geels,
12         G-E-E-L-S?
13                  A.    It could be Geels, yes.
14                  Q.    Okay.     All right.             Thank you,
15         Mr. Giuliani.          I have exhausted my time.
16                  A.    Thank you.
17                        THE VIDEOGRAPHER:                We are going
18                  off record at 6:45 p.m.                This concludes
19                  the testimony given by Rudolph W.
20                  Giuliani.
21                        (Continued on next page for
22                  jurat.)
23
24
25

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       Case 1:21-cv-03354-BAH Document 44-9 Filed 04/17/23 Page 45 of 45



                                                                Page 424

1                                          Giuliani
2                         The total number of media units
3                   used was 6, and will be retained by
4                   Veritext Legal Solutions.
5                         Thank you, and we are off the
6                   record.
7
8                                        ____________________
                                         RUDOLPH W. GIULIANI
9
10              Subscribed and sworn to
11              before me this                   day
12              of MO                    , 2023.
13
14              _______________________
                        Notary Public
15
16
17
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19
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25

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